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                         EXHIBIT 4
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Detroit Is Trying to Get Sidney Powell Fined, Banned
from Court, and Referred to the Bar for Filing the
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                                 The City of Detroit wants Sidney Powell and her self-styled “Kraken”
                                 team to face sanctions for “frivolously undermining ‘People’s faith in
                                 the democratic process and their trust in our government.'”

                                 The Motor City’s motion asks a federal judge to fine the lawyers, ban
                                 them from practicing in the Eastern District in Michigan and refer                                                     ×
                                 them to the Wolverine
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                                 “It’s time for this nonsense to end,” Detroit’s lawyer David Fink told
                                 Law&Crime in a phone interview.
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                                 “The lawyers filing these frivolous cases that undermine democracy
                                 must pay a price,” Fink added.

                                 Under standard procedures for Rule 11 sanctions, opposing counsel
                                 must be granted a 21-day window to withdraw offending litigation
                                 before a request is filed in court. The motion has not yet been filed,
                                 and it was briefly tweeted out by Marc Elias, an attorney from the
                                 Washington-based firm Perkins Coie who has regularly intervened in
                                 these cases on behalf of the Democratic Party and the Biden
                                 campaign.

                                 “Plaintiffs and their counsel understood that the mere filing of a suit
                                 (no matter how frivolous) could, without any evidence, raise doubts in
                                 the minds of millions of Americans about the legitimacy of the 2020
                                 presidential election,” Fink’s 9-page motion states. “As this Court
                                 noted, ‘Plaintiffs ask th[e] Court to ignore the orderly statutory
                                 scheme established to challenge elections and to ignore the will of
                                 millions of voters.'”

                                 Fink had been quoting a scathing ruling by U.S. District Judge Linda
                                 Parker, who dismissed Powell’s litigation with a resounding invocation
                                 of the will of the Michigan electorate: “The People have spoken.”

                                 “The right to vote is among the most sacred rights of our democracy
                                 and, in turn, uniquely defines us as Americans,” Parker noted in her
                                 36-page ruling. “The struggle to achieve the right to vote is one that
                                 has been both hard fought and cherished throughout our country’s
                                 history. Local, state, and federal elections give voice to this right
                                 through the ballot. And elections that count each vote celebrate and
                                                                                                                                                      ×
                                 secure this cherished right.”

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                                 Powell and her co-counsel Lin Wood have filed three other suits like it
                                 in Wisconsin, Arizona and Georgia, losing each of them in turn. They
                                 claim to be en route to fighting them to the Supreme Court, but there
                                 is no sign of a single cert petition on the high court’s docket.

                                 Asked about the sanctions motion, Powell replied cryptically: “We are
                                 clearly over the target.”

                                 On the other hand, every court that has heard her conspiracy theories
                                 about a supposed plot involving Dominion voting machines, dead
                                 Venezuelan strongman Hugo Chavez, bipartisan government officials
                                 and election workers in counties across the United States found that
                                 narrative untethered to reality.
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                                 “The key ‘factual’ allegations from the supposed fact witnesses, some
                                 of whom attempt to cloak their identities while attacking democracy,
                                 have been debunked,” the sanctions motion states. “The allegations
                                 about supposed fraud in the processing and tabulation of absentee
                                 ballots by the City at the TCF Center have been rejected by every
                                 court which has considered them. If any of the claims in this lawsuit
                                 had merit, that would have been demonstrated in those cases.”

                                 Powell has deployed a parade of anonymous and supposedly
                                 confidential witness, including a purported military intelligence expert
                                 code-named “Spyder” who later admitted to the Washington Post
                                 that he was actually an auto mechanic named Joshua Merritt with no
                                 such work experience.

                                 Though the cases get quickly booted out of court, Detroit and other
                                 cities across the country have been forced to defend them and their                                                  ×
                                 appeals on the taxpayer dime.
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                                 “This abuse of the legal process at the expense of states should not
                                 go unpunished,” Fink said.

                                 If the sanctions motion moved forward in court, Powell could be
                                 forced to post a $100,000 bond before filing any more appeals of her
                                 lawsuit, on top of the other penalties Fink requested.

                                 Even if Powell withdraws her case in response to Detroit’s motion,
                                 Judge Parker can choose to sanction the “Kraken” team—so-named
                                 after the mythical, octopus-like creature—on her own initiative.

                                 Fink has earned distinction for his passionate and indignant effort to
                                 turn the tables on attacks on the U.S. democratic process by outgoing
                                 President Donald Trump and his allies. Their flood of litigation
                                 reminded him of Bill Murray’s “Groundhog Day,” only a deadly serious
                                 version that amounted to an effort to bring about what he called a
                                 “court-ordered coup d’état.” He has sought to sanction pro-Trump
                                 lawyers before for a campaign of “lies” and “frivolous” litigation.

                                 Also on Tuesday, Detroit asked a judge in Wayne County to sanction
                                 two pro-Trump non-profits behind a state court case that was thrown
                                 out because it was backed by “no evidence.”
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                                 “This is not a legitimate lawsuit; it is a public relations weapon being
                                 used to advance the false narrative that our democratic system is
                                 broken,” Detroit’s motion thunders. “This abuse of our legal system
                                 deserves the strongest possible sanctions.”

                                 Brought by the so-called Election Integrity Fund—whose website
                                 describes itself as 501(c)4 formed this year—the case was one of
                                 several lawsuits filed across the country by the Thomas More Society.
                                 That 501(c)3 named after the Catholic saint and author of “Utopia”
                                 counted Rudy Giuliani as a “partner” in a spate of lawsuits dubbed the                                               ×
                                 Amistad Project.
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                                 Like “Utopia,” none of the lawsuits described factual allegations that
                                 another judge found to exist.

                                 “This is not a minor lawsuit; it is a dangerous attack on the integrity of
                                 the democratic process for the election of the President of the United
                                 States,” Fink wrote. “The parties and their attorneys should be held to
                                 the highest standards of factual and legal due diligence; instead, they
                                 have raised false allegations and pursued unsupportable legal
                                 theories. Then, after being corrected by the defendants and the
                                 Courts, they refuse to dismiss their lawsuit. Apparently this frivolous
                                 lawsuit continues because it serves other, more nefarious, purposes.
                                 While the pending complaint cannot possibly result in meaningful
                                 relief, it does serve the purpose of conveying to the world the
                                 impression that something fraudulent occurred in Detroit’s vote
                                 count.”

                                 Several other pro-Trump non-profits filed and lost meritless lawsuits
                                 across the country.




                                                                                                                                                      ×



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